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6                                    UNITED STATES DISTRICT COURT

7                                   EASTERN DISTRICT OF CALIFORNIA

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9    ANTOINE L. ARDDS,                                )   Case No.: 1:19-cv-01738-DAD-SAB (PC)
                                                      )
10                    Plaintiff,                      )
                                                      )   ORDER RESETTING TIME OF DECEMBER 15,
11            v.                                      )   2020 SETTLEMENT CONFERENCE
12                                                    )   Date: December 15, 2020
     D. HICKS, et.al.,
                                                      )   Time: 1:30 p.m.
13                    Defendants.                     )
                                                      )
14                                                    )
                                                      )
15                                                    )
16            Plaintiff Antoine L. Ardds is appearing pro se and in forma pauperis in this civil rights action
17   pursuant to 42 U.S.C. § 1983.
18            On September 14, 2020, the Court set this case for settlement conference before Magistrate
19   Judge Barbara A. McAuliffe on December 15, 2020, at 1:00 p.m.
20            It is HEREBY ORDERED that the settlement conference is reset for 1:30 p.m. on December
21   15, 2020.
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23   IT IS SO ORDERED.
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     Dated:        September 14, 2020
25                                                        UNITED STATES MAGISTRATE JUDGE
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